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RELIEF FROM STAY WORKSHEET - REAL ESTATE

1_Mavw Crearia, Assistant DeCr eta ny

(Name and Title)

of

Nato astay ANoo04¢ LLC d/bla Myr, dogper

(Name of Organization/Corporation/Moving Party)(hereinafter, “Movant”)

hereby declare (or certify, verify, or state) as follows:

10.

11,

BACKGROUND INFORMATION

Real property address which is the subject of this motion: 10 Reverend Taylor Drive, Ansonia,
CT 06401

Lender Name: Deutsche Bank National Trust Company, as Trustee for MORGAN STANLEY IXIS
REAL ESTATE CAPITAL TRUST 2006-2 MORTGAGE PASS THROUGH CERTIFICATES, SERIES 2006-2
Date of Mortgage: June 30, 2006

Post-Petition payment address: P. O. Box 619094, Dallas, TX 75261-9741

The manner in which the movant perfected its interest in the property: recorded mortgage deed in
volume 444 at Page 1055

All other material liens and encumbrances on the property: See attached Exhibit A

DEBT/VALUE REPRESENTATIONS
Total pre-petition and post-petition indebtedness of Debtor(s) to Movant at the time of filing the
motion: $504,917.00
Movant’s estimated market value of real property: $275,000.00
Source of estimated valuation: Schedule A/B of Bankruptcy Petition

STATUS OF DEBT AS OF THE PETITION DATE

Total pre-petition indebtedness of Debtor(s) to Movant as of petition filing date:
A. Amount of principal: $328,686.60

B. Amount of interest: $17,685.74

C. Amount of escrow (taxes and insurance): $9,953.53 advanced

D. Amount of forced placed insurance expended by Movant: $

E. Amount of Attorney’s fees billed to Debtor(s) pre-petition: $

F. Amount of pre-petition late fees, if any, billed to Debtor(s): $

Contractual interest rate as of the date of the petition:

(if interest rate is (or was) adjustable, please list the rate(s) and date(s) the rate(s) was/were in
effect on a separate sheet and attach the sheet as an exhibit to this form; please list the exhibit

number here: )
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12. Only with regard to a post-petition default, explain any additional pre-petition fees, charges or
amounts charged to Debtor’s/Debtors’ account and not listed above: corporate advance
$148,591.13

(If additional space is needed, please list the amounts on a separate sheet and attach the sheet as an exhibit
to this form; please list the exhibit number here: )

AMOUNT OF ALLEGED POST-PETITION DEFAULT (N/A)

13. Date last payment was received: (mm/dd/yyyy)

14. Alleged total number of payments post-petition from filing of petition through payment due on
(mm/dd/yyyy):
15. List all post-petition payments alleged to be in default:

SCHEDULE OF PAYMENTS THAT WERE DUE:

Date Pa

ent Due Pa

ent Amount Due Post-Petition

 

SCHEDULE OF PAYMENTS THAT WERE DUE:

 

Date Amount Amount Amount Late Fee Amount
Received Applied to Applied to Charges (if Applied to
Principal and Escrow any) Legal Fees or
Interest Costs (specify)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

16. Amount of Movant’s Attorney’s fees billed to Debtor for the preparation, filing and prosecution
of this motion: $750.00

17, Amount of Movant’s filing fee for this motion $181.00
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18. Only to the extent the movant is seeking payment in the motion, the amount of other Attorney’s
fees billed to Debtor post-petition: $

19. Only to the extent the movant is seeking payment in the motion, the amount of Movant’s post-
petition inspection fees: $

Only to the extent the movant is seeking payment in the motion, the amount of Movant’s post-
petition appraisal/broker’s price opinion is: $

20. Only to the extent the movant is seeking payment in the motion, the amount of forced placed
insurance or insurance provided by the Movant post-petition: $

21. Only to the extent the movant is seeking payment in the motion, the amount of the sum held in
suspense by Movant in connection with this contract, if applicable: $

22. Only to the extent the movant is seeking payment in the motion, the amount of other post-petition
advances or charges: i.e. taxes, insurance incurred by Debtor, etc.

$

23. Amount and date of post-petition payments offered by the Debtor and refused by the Movant:

 

i$ | Date:
REQUIRED ATTACHMENTS TO MOTION
The following exhibits are attached to the motion in support of the relief requested:

1. Copies of documents that indicate Movant’s interest in the subject property. For purposes of
example only, a complete and legible copy of the promissory note or other debt instrument
together with a complete and legible copy of the mortgage and any assignments in the chain
from the original mortgagee to the current moving party.

2. Copies of documents establishing proof of standing to bring this Motion.

3. Copies of documents establishing that Movant’s interest in the real property was perfected.
For the purposes of example only, a complete and legible copy of mortgage containing the
applicable recording information.

CERTIFICATION AND DECLARATION FOR BUSINESS RECORDS

I certify that the information provided in this worksheet and/or exhibits attached to this worksheet is
derived from records that were made at or near the time of the occurrence of the matters set forth by, or
from information transmitted by, a person with knowledge of those matters, were kept in the course of the
regularly conducted activity; and were made by the regularly conducted activity as a regular practice,

I further certify that copies of any transactional documents attached to this worksheet as required by
paragraphs 1, 2, and 3, immediately above, are true and accurate copies of the original documents, |
further certify that the original documents are in movant’s possession, except as follows:
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I/we declare (or certify, swear, affirm, verify or state) that the foregoing is true and correct,

612.9119

Executed on [date]

Hides Jab

 

 

 

[signature]
Mary Gracia
Assistant Secretary of Nationstar Mortgage LLC
[title] d/b/a Mr. Cooper
Affiant
[lender]
. . yO . (
Subscribed and sworn to before me this VIL ) LAC IY ) CG) \\
Aiwa atct, lt ve hark.
\ \ ALK \ \ y  } VX Li vs | p\

 

Notary Public: [name]

My Commission expires: [date]

 

 

 

    
     

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CHASTITY WILSON

Se: oS Notary Public, State of Texas
i ‘= Comm. Expires 05-21-2023

Notary ID 130235636

 

 

 

 
Case

 

 

 

 

 

 

 

 

 

 

 

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The following names have been searched for judgments and liens: Manfred Vives ; Leticia Vives; James DeGennaro; Kimberly
DeGennaro
Results:
Document Type: Judgment Lien Certificate Execution Date: 08/24/2010
Book/ aaa vamber: 492, 646 and 001341570001 Filed/Recorded: 08/31/2010
Amount: $2,865.28 + Costs + interest
Plaintiff: HS8C Bank Nevada, N.A. - Address Not Stated
Defendant: Manfred Vives
Case Number: SCC-327846
Document Type: Judgment Lien Execution Date: 12/27/2011
rook! ee a aber: 503, 356 and 00138770001 Filed/Recorded: 01/12/2012
Amount: $929,48 + Costs + Interest
Plaintiff: Midiand Funding, LLC - Address Not Stated
Defendant: Manfred Vives
Document Type: Special Sewer Use Lien Execution Date: 05/16/2014
Volume/Page: 525, 108 Filed/Recorded: 05/16/2014
Amount: $270.00 + Costs + Interest
Plaintiff: City of Ansonia - Address Not Stated
Defendant: Manfred Vives and Leticia Vives
Document Type: Lien Execution Date: 08/15/2014
Volume/Page: 527, 89 Filed/Recorded: 08/15/2014
Amount: $477.00 + Costs + Interest
Plaintiff: City of Ansonia - Address Not Stated
Defendant: Manfred Vives and Leticia Vives
Lien City of Ansonia Certificate of
Document Type: Continuing Sewer for not More then Fifteen Execution Date: 07/29/2016
Years
Volume/Page: 543, 993 Filed/Recordaed: 07/29/2016
Amount: $5,478.12 + Costs + Interest
Plaintiff: City of Ansonia - Address Not Stated
Defendant: Manfred Vives and Leticia Vives
Special Sewer Use Lien City of Ansonia
Document Type: Certificate of Continuing Sewer for not Execution Date: 05/14/2018
More then Fifteen Years
Books tee a ab er, 960, 426 and 001687850048 Filed/Recorded: 05/14/2018
Amount: $270.00 + Costs + interest
Plaintiff: City of Ansonia - Address Not Stated
Defendant: Manfred Vives and Leticia Vives

 

 

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT
AT NEW HAVEN

In Re: Manfred Vives a/k/a Manfred E. Vives a/k/a
Manfred Eduardo Vives, Debtor

 

) Case No. 19-30893
Deutsche Bank National Trust Company, _)
as Trustee for MORGAN STANLEY IXIS_)
REAL ESTATE CAPITAL TRUST 2006-2 )
MORTGAGE PASS THROUGH )
CERTIFICATES, SERIES 2006-2 )
Movant )
)
VS. )
) Chapter 7
Manfred Vives a/k/a )
Manfred E. Vives a/k/a )
Manfred Eduardo Vives )
Respondent )
)
Barbara H. Katz, )
Trustee )
) July 3, 2019
OFFICE OF THE U.S. TRUSTEE )
)

 

NOTICE OF CONTESTED MATTER RESPONSE DATE
Deutsche Bank National Trust Company, as Trustee for MORGAN STANLEY IXIS
REAL ESTATE CAPITAL TRUST 2006-2 MORTGAGE PASS THROUGH CERTIFICATES,

SERIES 2006-2 (the “Movant”) has filed a Request for Relief (the “Contested Matter”) with the
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U.S. Bankruptcy Court. Notice is hereby given that any Response to the Contested Matter must
be filed with the Court no later than July 25, 2019*. In the absence of a timely filed response, the

proposed order in the Contested Matter may enter without further notice and hearing, see, 11

U.S.C. section 102(1).

Dated: July 3, 2019
Movant,

BY /s/ Paul Lewis Otzel

PAUL LEWIS OTZEL, ESQ.
KAPUSTA, OTZEL & AVERAIMO
250 Broad Street

Milford, CT 06460

203-874-6773 (telephone)
203-874-5765 (fax)
staff@milfordlegal.com (e-mail)

Fed Bar No. ct12009

Its Attorney

*Pursuant to Federal Rule of Bankruptcy Procedure 9006(f), if service is made by mail, three
days are added after the response date set in this notice.
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT
AT NEW HAVEN

In Re: Manfred Vives a/k/a Manfred E. Vives a/k/a
Manfred Eduardo Vives, Debtor

 

Case No. 19-30893
Deutsche Bank National Trust Company,
as Trustee for MORGAN STANLEY IXIS
REAL ESTATE CAPITAL TRUST 2006-2
MORTGAGE PASS THROUGH
CERTIFICATES, SERIES 2006-2

Movant

VS.
Chapter 7
Manfred Vives a/k/a
Manfred E. Vives a/k/a
Manfred Eduardo Vives
Respondent

Barbara H. Katz,
Trustee

July 3, 2019

OFFICE OF THE U.S. TRUSTEE

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REQUEST FOR RELIEF FROM
SECTION 362 AUTOMATIC STAY OF PROCEEDINGS

Pursuant to 11 U.S.C. Sections 362(d)(1) and 362(d)(2), Movant, Deutsche Bank
Case 19-30893 Doci0 Filed 07/03/19 Entered 07/03/19 15:55:28 Page 9 of 65

National Trust Company, as Trustee for MORGAN STANLEY IXIS REAL ESTATE CAPITAL

TRUST 2006-2 MORTGAGE PASS THROUGH CERTIFICATES, SERIES 2006-2 requests

this Court for relief from the Section 362 automatic stay of proceedings, and hereby represents:

1.

The debtor is the owner of the real property known as 10 Reverend Taylor Drive,
Ansonia, CT 06401 (hereinafter referred to as “Subject Premises’). See conveyance deed
dated June 29, 2006 and recorded July 5, 2006 in Volume 444 at Page 1053 of the
Ansonia Land Records. Said conveyance deed is attached hereto as Exhibit A.

The subject premises is the personal residence of the Debtor. A copy of ECF #1, page 2
evidencing same is attached as Exhibit B.

On June 30, 2006, The Debtor was originally indebted to Wilmington Finance, Inc. in the
sum of THREE HUNDRED FIVE THOUSAND ONE HUNDRED FIFTY AND 00/100
($305,150.00) DOLLARS, as evidenced by a Note for said sum, dated on said date. A
copy of said Note is annexed hereto and made a part hereof as Exhibit C.

On said date, by Mortgage Deed of that date, to secure said Note, Debtor mortgaged to
MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. (MERS, INC.) as
Mortgagee for Wilmington Finance, Inc. a certain piece or parcel of land with buildings
thereon, situated in the Town/City of Ansonia, County of New Haven, and State of

Connecticut, known as 10 Reverend Taylor Drive, Ansonia, CT 06401, and being more
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particularly bounded and described as set forth on Exhibit D attached hereto and made a part
hereof.
Said Mortgage Deed is conditioned upon the payment of said Note according to
its tenor and was recorded in the Land Records of such municipality on July 5, 2006 in
Volume 444 at Page 1055. A copy of said Mortgage Deed is annexed hereto and made a
part hereof as Exhibit E.
Said Mortgage Deed was assigned to Deutsche Bank National Trust Company as
Trustee for Morgan Stanley [XIS Real Estate Capital Trust 2006-2 by virtue of an
Assignment of Mortgage, recorded October 10, 2008 in Volume 477 at Page 1014 of the
subject Land Records. A copy of said Assignment is annexed hereto and made a part hereof
as Exhibit F.
Said Mortgage Deed was further assigned to Movant by virtue of an Assignment of
Mortgage, recorded August 17, 2018 in Volume 562 at Page 866 of the subject Land
Records. A copy of said Assignment is annexed hereto and made a part hereof as Exhibit G.
5. Debtor has failed to pay the Note according to its tenor, and said note is in default.
6. On August 28, 2018, Movant commenced a foreclosure action in the Connecticut Superior
Court, Docket No. AAN-CV18-6029772-S._ A copy of the Confirmation of e-Filing

Transaction is attached as Exhibit H.
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10.

11.

12.

12.

Judgment of foreclosure as not entered. A copy of the Confirmation of e-Filing Transaction
evidencing same is attached as Exhibit H.

The effect of the subject bankruptcy petition stays all action on existing debt and
foreclosure proceedings as provided for in U.S.C Section 362, unless otherwise ordered
by this Court.

The value of the collateral/subject premises as set forth in Debtor’s bankruptcy petition
Schedule A/B: Real Property is $275,000.00. A copy of ECF #1, page 10 evidencing
same is attached as Exhibit I.

The Creditor’s total debt as of June 5, 2019 is $504,917.00, as set forth in the Affidavit of
Debt annexed hereto and made a part hereof as Exhibit J.

The Movant’s secured mortgage is subject to the following priority liens:

(a) Sewer Use charges as of record may appear;
(b) Water use charges as of record may appear;
(c) Real Estate Taxes to the City/Town of Ansonia.
The debtor is contractually past due on December 1, 2017.
Sufficient cause exists pursuant to 11 U.S.C. 362(d)(1) and 11 U.S.C. 362(d)(2) to grant

Movant’s relief from the automatic stay herein, which cause includes, but is not limited to:
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a. As of the date of this Request, debtor has failed to make post-petition
periodic payments of interest and principal. See paragraph 6 of Movant’s
Affidavit of Debt at Exhibit J.

b. The timing and facts surrounding in the Debtor’s filing clearly evidences an
intent to delay or frustrate the legitimate efforts of Movant to enforce its
rights.

c. The indebtedness to Movant exceeds the value of the secured
property/collateral and therefore Movant is not adequately protected. See

Exhibit I; See Exhibit J.
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WHEREFORE, Movant, Deutsche Bank National Trust Company, as Trustee for
MORGAN STANLEY IXIS REAL ESTATE CAPITAL TRUST 2006-2 MORTGAGE PASS
THROUGH CERTIFICATES, SERIES 2006-2 requests an Order of this Court granting to
Movant and its successors and/or assigns relief from the automatic stay pursuant to 11 USC
Sections 362(d)(1) and 362(d)(2), so that it, and its successors and assigns, may proceed to
exercise its rights pursuant to the Note and Mortgage, and for leave to proceed with a State Court
foreclosure proceeding, short sale, or deed-in-lieu of foreclosure.

Dated: July 3, 2019
MOVANT
BY /s/ Paul Lewis Otzel
PAUL LEWIS OTZEL, ESQ.
KAPUSTA, OTZEL & AVERAIMO
250 Broad Street

Milford, CT 06460
203-874-6773 (telephone)

staff@milfordlegal.com (e-mail)
Fed Bar No. ct12009
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT
AT NEW HAVEN

In Re: Manfred Vives a/k/a Manfred E. Vives a/k/a
Manfred Eduardo Vives, Debtor

 

Case No. 19-30893
Deutsche Bank National Trust Company,
as Trustee for MORGAN STANLEY IXIS
REAL ESTATE CAPITAL TRUST 2006-2
MORTGAGE PASS THROUGH
CERTIFICATES, SERIES 2006-2

Movant

VS.
Chapter 7
Manfred Vives a/k/a
Manfred E. Vives a/k/a
Manfred Eduardo Vives
Respondent

Barbara H. Katz,
Trustee

Name Nee Nee Nee eee ee Ne ee ee” eee ee es ee

OFFICE OF THE U.S. TRUSTEE

 

PROPOSED ORDER
ORDER GRANTING MOTION RELIEF FROM STAY
Deutsche Bank National Trust Company, as Trustee for MORGAN STANLEY IXIS REAL

ESTATE CAPITAL TRUST 2006-2 MORTGAGE PASS THROUGH CERTIFICATES, SERIES
Case 19-30893 Doci0 Filed 07/03/19 Entered 07/03/19 15:55:28 Page 15 of 65

2006-2 (the “Movant”) filed a Motion for Relief from Stay (the “Motion”), ECF No.__.. After
notice and a hearing, see 11 U.S.C. section 102(1), and in compliance with the Court’s Bar Date
Procedure, and it appearing that relief sought in the Motion should be granted, it is hereby
ORDERED, that the automatic stay provided in 11 U.S.C. Section 362(a) is modified pursuant to 11
U.S.C. Sections 362(d)(1) and Section 362(d)(2) to permit the Movant and/or their successors and
assignees, to exercise their rights, if any, with respect to real property known as 10 Reverend Taylor
Drive, Ansonia, CT 06401, in accordance with applicable non-bankruptcy law.

No deficiency judgment shall be enforced without the further order of the Court, unless the
case is dismissed.

The Movant is NOT requesting waiver of the fourteen (14) day period.
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT
AT NEW HAVEN

In Re: Manfred Vives a/k/a Manfred E. Vives a/k/a
Manfred Eduardo Vives, Debtor

 

Case No. 19-30893
Deutsche Bank National Trust Company,
as Trustee for MORGAN STANLEY IXIS
REAL ESTATE CAPITAL TRUST 2006-2
MORTGAGE PASS THROUGH
CERTIFICATES, SERIES 2006-2
Movant

VS.

Manfred Vives a/k/a

Manfred E. Vives a/k/a

Manfred Eduardo Vives
Respondent

Barbara H. Katz,

Trustee

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) Chapter 7
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) July 3, 2019
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OFFICE OF THE U.S. TRUSTEE

 

CERTIFICATION

The undersigned Movant hereby certifies that on the 3"! day of July, 2019, I served the
following upon all parties entitled to notice:

1. A copy of Request for Relief from Section 362 Automatic Stay of Proceedings;

2. A copy of the Proposed Order; and
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3. Notice of Contested Matter Response Date.
as follows:

via electronic notification:

 

Office of the U. S. Trustee: USTPregion02.nh.ecf@usdoj.gov.
Barbara H. Katz, Bankruptcy Trustee: barbarakatz@snet.net;

BKatz@iq7technology.com
Neil Crane, Esq., Debtor’s Counsel: neilcranecourt@neilcranelaw.com

I further hereby certify that on July 3, 2019, I mailed via first class mail, postage prepaid, a
copy of this foregoing document to the following:

Manfred Vives a/k/a
Manfred E. Vives a/k/a
Manfred Eduardo Vives
DEBTOR

10 Reverend Taylor Drive
Ansonia, CT 06401

BY /s/ Paul Lewis Otzel
PAUL LEWIS OTZEL, ESQ.
KAPUSTA, OTZEL & AVERAIMO
250 Broad Street
Milford, CT 06460
203-874-6773 (telephone)
203-874-5765 (fax)
staff@milfordlegal.com (e-mail)
Fed Bar No. ct12009
Its Attorney
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*444 ©1052-1054
WARRANTY DEED

Know Ye, That WE, JAMES DeGENNARO JR. and KIMBERLY DeGENNARO,
both of the City of Ansonia, County of New Haven and State of Connecticut for the
consideration of THREE HUNDRED FIFTY NINE THOUSAND AND NO/100 ($359,000.00)
DOLLARS received to our full satisfaction of MANFRED VIVES and LETICIA VIVES, both
of the Town of Stratford, County of Fairfield and State of Connecticut do give, grant, bargain,
sell and confirm unto the said MANFRED VIVES and LETICIA VIVES and unto the survivor
of them, and unto such survivor’s heirs and assigns forever all that certain piece of property
together with the buildings and improvements thereon, known as 10 Rev. Taylor Drive located in
the City of Ansonia, County of New Haven and State of Connecticut and more particularly
bounded and described as follows:

All that certain piece or parcel of land, with the buildings and improvements
thereon, situated in the Town of Ansonia, County of New Haven and State of
Connecticut, designated as Lot No. 9 as shown on certain maps entitled “Record
Subdivision Map, Northfield Farms, Ansonia, Connecticut, dated October 1, 1991, Last
revised 5/20/92, recorded in Ansonia Map Volume 13, Pages 7, 8, 9 & 10.

The premises are hereby conveyed together with and subject to the ternis,
conditions, agreements, obligations and easements contained in the Restated Declaration
of Northfield Farms dated February 3, 1993 and recorded February 3, 1993 in the
Ansonia Land Records in Volume 264 Page 127 and in the Woodbridge Land Records in
Volume 185 at Page 300 as it may be amended or supplemented. The Grantees, by
acceptance of this deed, hereby expressly assume and agree to be bound by and to
comply with all of the terms, conditions, agreements, obligations and easements as set
forth in Declaration, the Bylaws of the Association and Exhibits as they may be amended
or supplemented.

SUBJECT TO:

1. Real Estates Taxes on the Grand List of October 1, 2005, and thereafter, which
the Grantees herein agree and assume to pay.

2. Terms, conditions, easements, reservations as set forth in a Restatement and
Declaration of Northfield Farms dated February 3, 1993 and recorded in Volume
264 at Page 127 and Warranty Deed dated April 15, 1993 and recorded in Volume
266 at Page 69.

3. Notes and conditions as shown on filed Map Volume 13 at Pages 7, 8, 9 & 10.

4. Terms and conditions of a certain Agreement entitled “City of Ansonia-Town of
Woodbridge Northfield Farms Homeowners Association Detention Basin
Maintenance Agreement”, dated August 5, 1992 and recorded in Volume 259 at
Page 835 of the Ansonia Land Records.

5. Agreement in favor of the Ansonia-Derby Water Company, recorded in Volume
260 at Page 583 of the Ansonia Land Records.

6. Easement in favor of the United I]uminating Company, dated August 14, 1992
and recorded in Volume 260 at Page 790 of the Ansonia Land Records.

SO ad
‘) CITY CONVEYANCE TAX g179S state CONVEYANCE TAX

Towr Clerk of Ansonia Town Clerk of Ansonia

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x, A Volume: 444 Page: 1052 Seq: 1
Case 19-30893 Doci0 Filed 07/03/19 Entered 07/03/19 15:55:28 Page 20 of 65

To Have and to Hold the above granted and bargained premises, with the appurtenances
thereof, unto them the said grantees, and unto the survivor of them, and unto such survivor’s
heirs and assigns forever, to them and their own proper use and behoof.

And also, we the said grantors do for ourselves and our heirs, executors, administrators,
and assigns, covenant with the said grantees and with the survivor of them, and with such
survivor’s heirs and assigns, that at and until the ensealing of these presents we are well seized of
the premises, as a good indefeasible estate in FEE SIMPLE; and we have good right to bargain
and sell the same in manner and form as is above written; and that the same is free from all
encumbrances whatsoever, except as hereinbefore mentioned.

And Furthermore, we the said grantors do by these presents bind ourselves and our heirs,
and assigns forever to WARRANT AND DEFEND the above granted and bargained premises to
them the said grantees, and to the survivor of them and to such survivor’s heirs and assigns,
against all claims and demands whatsoever, except as hereinbefore mentioned.

In witness whereof, we have hereunto set our hands and seals this 29" day of June in

the year of our Lord Two Thousand and Six.
ay all WA Lick) LS.

AMES DeGENNARO, JR/

g

  
 
 

 

 

KIMBERLYAeGENNARO

   

William J. fees /

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State of Connecticut )
ss. Milford June 29, A.D. 2006
County of New Haven )

Personally Appeared James DeGennaro, Jr., Signer and Sealer of the foregoing
Instrument, and acknowledged the same to be his free act and ye, ed before

 
 

 

Gtk L. DeGenkéro ‘

Commissioner of the Superior Court

State of Connecticut )
} ss. Milford June 29, A.D. 2006
County of New Haven )

Personally Appeared Kimberly DeGennaro, Signer anfl Sealer of the foregoing
Instrument, and acknowledged the same to be her free act a ‘ly lh re

 

William J. Aly 4
Commissioner of the supd ior Court

Latest address of Grantee:

Street:10 Rev, Taylor Drive
City: Ansonia

ay Received for Record at Ansonia, CT
State CT On 07/08/2008 At 2:01:33 pm
Zip Code: 06401 ~ Raa alacane Bl, DEBE a

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Debtor1 Manfred Vives
Debtor 2 Leticia Vives

About Debtor 1:

4. Any business names and
Employer Identification

Numbers (EIN) you have = | have not used any business name or EINs.
used in the last 8 years

 

Include trade names and Business name(s)
doing business as names

ie

 

5. Where you live
10 Reverend Taylor Drive
Ansonia, CT 06401
Number, Street, City, State & ZIP Code

NewHaven
County

If your mailing address is different from the one

above, fill it in here. Note that the court will send any

notices to you at this mailing address.

‘Number, P.O. Box, Street, City, State & ZIP Code

6. Why you are choosing Check one:
this district to file for

bankruptcy M Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.
CO _sthave another reason.

Explain. (See 28 U.S.C. § 1408.)

‘County —

Case number (if known)

About Debtor 2 (Spouse Only in a Joint Case):

HE | have not used any business name or EINs.

 

Business name(s)

 

If Debtor 2 lives at a different address:

Number, Street, City, State & ZIP Code

 

If Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

 

Number, P.O. Box, Street, City, State & ZIP Code

Check one:

M@ Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

O_sthave another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

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Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 2
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SEE 'INTEREST-ONLY ADDENDUM! ATTACHED HERETO AND MADE A PART HEREOF.
SEE 'PREPAYMENT RIDER TO NOTE' ATTACHED HERETO AND MADE A PART HEREOF.

Loan Numbe I~

ADJUSTABLE RATE NOTE

(LIBOR Index - Rate Caps)

THIS NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN MY INTEREST RATE
AND MY MONTHLY PAYMENT. THIS NOTE LIMITS THE AMOUNT MY INTEREST RATE CAN
CHANGE AT ANY ONE TIME AND THE MAXIMUM RATE I MUST PAY.

June 30, 2006 MILFORD Connecticut
[Date] [City] {State]
10 REV TAYLOR DRIVE

ANSONIA, CT 06401

[Property Address]

1. BORROWER'S PROMISE TO PAY
In return fora loan that I have received, I promise to pay U.S.$ 305,150.00 (this amount is called "Principal"),
plus interest, to the order of the Lender. The Lender is
Wilmington Finance, Inc. _

I will make all payments under this Note in the form of cash, check or money order.

T understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who is entitled
to receive payments under this Note is called the "Note Holder."
2. INTEREST

Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay interest ata yearly rate
of 7.990%. The interest rate I will pay may change in accordance with Section 4 of this Note.
The interest rate required by this Section 2 and Section 4 of this Note is the rate I will pay both before and after any default
described in Section 7(B) of this Note.
3. PAYMENTS

(A) Time and Place of Payments

I will pay principal and interest by making a payment every month.

I will make my monthly payments on the first day of each month beginning on August 1, 2006 .
I will make these payments every month until I have paid all of the principal and interest and any other charges described below
that I may owe under this Note. Each monthly payment will be applied as of its scheduled due date and will be applied to interest
before Principal. If, on July 1, 2036 , I still owe amounts under this Note, I will pay those amounts in
full on that date, which is called the "Maturity Date.”

I willmake my monthly payments at PO Box 209

Plymouth Meeting, PA 19462 or at a different place if required by the Note Holder.
(B) Amount of My Initial Monthly Payments
Each of my initial monthly payments will be in the amount ofU.S.$ 2,031.79 . This amount may change.

WILMINGTON FINANCE, INC. - MODIFIED
MULTISTATE ADJUSTABLE RATE NOTE - LIBOR INDEX - Single Family - Freddie Mac UNIFORM INSTRUMENT Form 3590 1/01

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(C) Monthly Payment Changes
Changes in my monthly payment will reflect changes in the unpaid principal of my loan and in the interest rate that I must
-toust pay. The Note Holder will determine my new interest rate and the changed amount of my monthly payment in accordance
with Section 4 of this Note.

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES

(A) Change Dates

The interest rate I will pay may change on the first day of July, 2009 , and on that day every sixth
month thereafter. Each date on which my interest rate could change is called a "Change Date.”

(B) The Index

Beginning with the first Change Date, my interest rate will be based on an Index. The "Index" is the average of interbank
offered rates for six-month U.S, dollar-denominated deposits in the London market ("LIBOR"), as published in The Wall Street
Journal. The most recent Index figure available as of the first business day of the month immediately preceding the month in
which the Change Date occurs is called the “Current Index."

If the Index is no longer available, the Note Holder will choose a new index that is based upon comparable information.
The Note Holder will give me notice of this choice.

(C) Calculation of Changes

Before each Change Date, the Note Holder will calculate my new interest rate by adding Five and 990/1000
percentage points ( 5.990 %) to the Current Index. The Note Holder will then round the result of this
addition to the nearest one-eighth of one percentage point (0.125%). Subject to the limits stated in Section 4(D) below, this
rounded amount will be my new interest rate until the next Change Date.

The Note Holder will then determine the amount of the monthly payment that would be sufficient to repay the unpaid
principal that I am expected to owe at the Change Date in full on the Maturity Date at my new interest rate in substantially equal
payments. The result of this calculation will be the new amount of my monthly payment.

(D) Limits on Interest Rate Changes

The interest rate lam required to pay at the first Change Date will not be greater than §.990 % or less
than 7.990 %, Thereafter, my interest rate will never be increased or decreased on any single Change Date by more than
one percentage point (1%) from the rate of interest I have been paying for the preceding six months. My interest rate will never be
greater than 13.990%, or less than 7.990 %.

(E) Effective Date of Changes

My new interest rate will become effective on each Change Date. I will pay the amount of my new monthly payment
beginning on the first monthly payment date after the Change Date until the amount of my monthly payment changes again.

(F) Notice of Changes

The Note Holder will deliver or mail to me a notice of any changes in my interest rate and the amount of my monthly
payment before the effective date of any change. The notice will include information required by law to be given to me and also
the title and telephone number of a person who will answer any question I may have regarding the notice.

5. BORROWER'S RIGHT TO PREPAY

[have the right to make payments of Principal at any time before they are due. A payment of Principal only is known as a
“Prepayment,” When I make a Prepayment, I will tell the Note Holder in writing that I am doing so. | may not designate a
payment as a Prepayment if I have not made all the monthly payments due under the Note.

I may make a full Prepayment or partial Prepayments without paying any Prepayment charge. The Note Holder will use
my Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note Holder may apply my
Prepayment to the accrued and unpaid interest on the Prepayment amount before applying my Prepayment to reduce the
Principal amount of the Note. If I make a partial Prepayment, there will be no changes in the due dates of my monthly payments
unless the Note Holder agrees in writing to those changes. My partial Prepayment may reduce the amount of my monthly
payments after the first Change Date following my partial Prepayment, However, any reduction due to my partial Prepayment
may be offset by an interest rate increase.

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6, LOAN CHARGES

Ifa law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or other

ioan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (a) any such loan charge

shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected from me

which exceeded permitted limits will be refunded to me. The Note Holder may choose to make this refund by reducing the

Principal I owe under this Note or by making a direct payment to me. If a refund reduces Principal, the reduction will be treated
as a partial Prepayment.

7. BORROWER'S FAILURE TO PAY AS REQUIRED

(A) Late Charges for Overdue Payments

Ifthe Note Holder has not received the full amount of any monthly payment by the end of 15 calendar days after
the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be 5.000% of my
overdue payment of principal and interest. I will pay this late charge promptly but only once on each late payment.

(B) Default
If] do not pay the full amount of each monthly payment on the date it is due, I will be in default.

(C) Notice of Default

If[ am in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue amount by a
certain date, the Note Holder may require me to pay immediately the full amount of Principal which has not been paid and all the
interest that I owe on that amount. That date must be at least 30 days after the date on which the notice is mailed to me or
delivered by other means.

(D) No Waiver By Note Holder
Even if, ata time I am in default, the Note Holder does not require me to pay immediately in full as described above, the
Note Holder will still have the right to do so if am in default at a later time.

(E) Payment of Note Holder's Costs and Expenses

If the Note Holder has required me to pay in full as described above, the Note Holder will have the right to be paid back by
me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law. Those expenses include,
for example, reasonable attorneys’ fees.

8. GIVING OF NOTICES

Unless applicable law requires a different method, any notice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if I give the Note
Holder a notice of my different address.

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by first
class mail to the Note Holder at the address stated in Section 3(A) above or at a different address if lam given a notice of that
different address.

9, OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all of the promises made in
this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is
also obligated to do these things. Any person who takes over these obligations, including the obligations ofa guarantor, surety or
endorser of this Note, is also obligated to keep all of the promises made in this Note. The Note Holder may enforce its rights
under this Note against each person individually or against all of us together. This means that any one of us may be required to
pay all of the amounts owed under this Note.

10. WAIVERS

T and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
“Presentment” means the right to require the Note Holder to demand payment of amounts due. "Notice of Dishonor" means the
right to require the Note Holder to give notice to other persons that amounts due have not been paid.

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li. UNIFORM SECURED NOTE
This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections given to the
- Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the "Security Instrument"), dated the same date as
this Note, protects the Note Holder from possible losses which might result if I do not keep the promises that I make in this Note.
That Security Instrument describes how and under what conditions I may be required to make immediate payment in full of all
amounts I owe under this Note. Some of those conditions are described as follows:
Transfer of the Property or a Beneficial Interest in Borrower . If all or any part of the Property or
any Interest in the Property is sold or transferred (or if Borrower is not a natural person and a beneficial interest
in Borrower is sold or transferred) without Lender's prior written consent, Lender may require immediate
payment in full of all sums secured by this Security Instrument. However, this option shall not be exercised by
Lender if such exercise is prohibited by Applicable Law. Lender also shall not exercise this option if: (a)
Borrower causes to be submitted to Lender information required by Lender to evaluate the intended transferee
as if a new loan were being made to the transferee; and (b) Lender reasonably determines that Lender's
security will not be impaired by the loan assumption and that the risk of a breach of any covenant or agreement
in this Security Instrument is acceptable to Lender.

To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a condition to
Lender's consent to the loan assumption. Lender may also require the transferee to sign an assumption
agreement that is acceptable to Lender and that obligates the transferee to keep all the promises and
agreements made in the Note and in this Security Instrument. Borrower will continue to be obligated under the
Note and this Security Instrument unless Lender releases Borrower in writing,

If Lender exercises the option to require immediate payment in full, Lender shall give Borrower notice
of acceleration. The notice shall provide a period of not less than 30 days from the date the notice is given in
accordance with Section 15 within which Borrower must pay all sums secured by this Security Instrument. If
Borrower fails to pay these sums prior to the expiration of this period, Lender may invoke any remedies
permitted by this Security Instrument without further notice or demand on Borrower.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

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LETICIA VIVES -Borrower MANFRED VIVES ~Borrower
(Seal) (Seal)

~-Borrower -Borrower

(Seal) (Seal)

-Borrower -Borrower

(Seal) (Seal)

~ Borrower -Borrower

[Sign Original Only]

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INTEREST-ONLY ADDENDUM
ADJUSTABLE RATE NOTE

“LOAN NO.:

THIS INTEREST-ONLY ADDENDUM is made this 30th day of June, 2006 , and is incorporated into
and shall be deemed to amend and supplement the Adjustable Rate Note (the “Note”") and the Mortgage, Deed of Trust or
Security Deed (the "Security Instrument") of the same date given by the undersigned (the "Borrower") to secure the Note to

Wilmington Finance, Inc.

(the "Lender") of the same date and covering the property described in the Security Instrument and located at:
10 REV TAYLOR DRIVE
ANSONIA, CT 06401

THIS ADDENDUM SUPERSEDES Section 3(A) and (B) of the Note. None of the other provisions of the note are
changed by this addendum.

3. PAYMENTS

(A) Time and Place of Payments

I will pay interest by making payments every month for the first 60 payments (the "Interest-Only Period") in
amount sufficient to pay interest as it accrues. I will pay principal and interest by making payments every month thereafter for

the next 300 payments in an amount sufficient to fully amortize the outstanding principle balance of the Note
at the end of the Interest-Only Period over the remaining term of the Note in equal monthly payments.

Iwill make my monthly payment on the Ist day of each month beginning August 1, 2006 . Lwill make
these payments every month until I have paid all of the principal and interest and any other charges described below that I may
owe under this Note. Each monthly payment will be applied as of its scheduled due date and will be applied to interest before
principal. If, on July 1, 2036 , [still owe amounts under this Note, I will pay those amounts in full on that date,
which is called the "Maturity Date".

Iwill make my payments at Wilmington Finance, Inc.
PO Box 209
Plymouth Meeting, PA 19462

or ata different place if required by the Note Holder.
(B) Amount of My Initial Monthly Payments

Each of my initial interest-only monthly payments will be in the amount of US$ 2,031.79 . This amount
may change.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Interest-Only Addendum.

 

 

 

 

 

 

 

 

 

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LETICIA VIVES -Borrower MANFRED VIVES._/ -Borrower
(Seal) (Seal)
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-Borrower -Borrower

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PREPAYMENT RIDER TO NOTE

Loan No.: .
The Note dated June 30, 2006 between
Wilmington Finance, Inc.
(Lender) and

LETICIA VIVES, MANFRED VIVES

(Borrower or I)
is hereby amended as follows:
L Additional Covenants. Notwithstanding anything to the contrary set forth in the Note or Security Instrument,

Borrower and Lender covenant, and agree, that the provisions of the section of the Note entitled "BORROWER'S RIGHT TO
PREPAY“ or "BORROWER'S PA YMENTS BEFORE THEY ARE DUE" are amended to read as follows:

Subject to the Prepayment Penalty provided below, I have the right to make payments of Principal at any time before
they are due. A payment of Principal only is known as a "Prepayment." A "Full Prepayment" is the prepayment of the entire
unpaid Principal due under the Note. A payment of only part of the unpaid Principal is known as a “Partial Prepayment." When I
make a Prepayment, I will tell the Note Holder in writing that I am doing so. I may not designate a payment as a Prepayment if]
have not made all the monthly payments due under the Note.

If, within the 36 month period beginning with the date I execute the Note (the "Penalty Period"), I
make a Full Prepayment, or Partial Prepayment in any twelve (12)-month period that exceeds 10% of the original
Principal loan amount, I will pay a Prepayment charge as consideration of the Note Holder's acceptance of such
Prepayment. The Prepayment charge will equal 5.000% of the then Principal balance of the Note. No
Prepayment charge will be assessed for any Prepayment occurring after the Penalty Period.

The Rider will remain in full force and effect unless the Note is transferred by Lender and the Borrower is notified in
writing by the new Note Holder that such Note Holder, at its sole option, has declared the Rider null and void. If the Rider is
declared null and void, the original Note terms shall remain in full force and effect.

 

-Borrower i -Borrower
LETICIA VIVES MANERED VIVES

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(Seal) (Seal)
-Borrower -Borrower

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~Borrower -Borrower

(Seal) (Seal)
-Borrower ~Borrower

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Allonge to note dated:

In Favor of :

And executed by:

Property Address:

Loan Amount:

Pay to the order of :

without recourse:

By:

Title:

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ALLONGE TO NOTE

6/30/2006

Wilmington Finance, Inc.

LETICIA VIVES and MANFRED VIVES

10 REV TAYLOR DRIVE
ANSONIA, CT 06401,

$ 305,150.00

Wilmington Finance, Inc.

    

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“ B6n Malabuyo
Designated Signer
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SCHEDULE A

ALL THAT certain piece or parcal of land, with the buildings and improvements thereon,
situated in the Town of Ansonia, County of New Haven and State of Connecticut, designated
as Lot'No. 9 as shown on certain maps entitled "Records Subdivision Map, Northfield. arms,

Ansonia, Connecticut, dated October 1, 1991, Last revised 5/20/92, recorded in Ansonia’ Map
Volume 13, Pages 7, 8, 9 & 10. . mS

_ The premises are hereby conveyed together with and subject to the terms, conditions,
agreements, obligations and easements contained In the Restated Declaration of Northfield
Farms dated February 3, 1993 and recorded February 3, 1993 in the Ansonia Land Records in
Volume 264 at Page 127 and in the Woodbridge Land Records in Volume 185 at Page 300 as
it may be amended or supplemented. me rer

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Return To:

Wilmington Finance, Inc.

401 Plymouth Road, Suite 400
Plymouth Meeting, PA 19462
Prepared By:

Wilmington Finance, Inc. .
650 Ten Rod Road

North Kingstown, RI 02852

[Space Above This Line For Recording Data]

_ “OPEN-END MORTGAGE DEED

 

 

Loan Number

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 11, 13,
18, 20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section 16,

(A) "Security Instrument" means this document, which is dated June 30, 2006 ;
together with all Riders to this document.

(B) "Borrower" is
Manfred Vives And Leticia Vives

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Borrower is the mortgagor under this Security Instrument.

(C) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting solely as
a nominee for Lender and Lender's successors and assigns. MERS is the mortgagee under this Security Instrument.
MERS is organized and existing under the laws of Delaware, and has an address and telephone number of P.O. Box

2026, Flint, MI 48501-2026, tel. (888) 679-MERS.

CONNECTICUT - Single Family- Fannie Mae/Freddie Mac UNIFORM INSTRUMENT WITH MERS Form 3007 1/01
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Page 1 of 14 Initials; #7

VMP Mortgage Forms, Inc. £

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(D) "Lender" is
* Wilmington Finance, Inc.
Lenderisa Corporation

organized and existing under the laws of Delaware
Lender's address is 401 Plymouth Road, Suite 400

Plymouth Meeting, PA 19462

(E) "Note" means the promissory note signed by Borrower and dated June 30, 2006

The Note states that Borrower owes Lender

Three Hundred Five Thousand One Hundred Fifty and 00/100 Dollars
(U.S. $305,150.00 ) plus interest. Borrower has promised to pay this debt in regular Periodic
Payments and to pay the debt in full not Jater than July 1, 2036

(F) "Property" means the property that is described below under the heading "Transfer of Rights in the Property."

(G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under
the Note, and all sums due under this Security Instrument, plus interest.

(H) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following Riders are to
be executed by Borrower [check box as applicable]:

Adjustable Rate Rider [__] Condominium Rider [_] Second Home Rider
[__] Balloon Rider [__] Planned Unit Development [-_] Rider 1-4 Family Rider
[_] VA Rider [|] Biweekly Payment Rider Other(s) [specify]

Schedule A - Legal Description

(1) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial
opinions.

(J) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other charges that
are imposed on Borrower or the Property by a condominium association, homeowners association or similar
organization.

(K) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check, draft, or
similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or
Magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term
includes, but is not limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by
telephone, wire transfers, and automated clearinghouse transfers.

(L) "Escrow Items" means those items that are described in Section 3.

(M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any
third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or
destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in lieu
of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.

(N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan.

(O) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Note, plus
(ii) any amounts under Section 3 of this Security Instrument.
(P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its implementing
regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time, or any additional or
successor legislation or regulation that governs the same subject matter. As used in this Security Instrument, "RESPA"
refers to all requirements and restrictions that are imposed in regard to a “federally related mortgage loan" even if the
Loan does not qualify as a “federally related mortgage loan” under RESPA.
(Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or notthat party
has assumed Borrower's obligations under the Note and/or this Security Instrument. va
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TRANSFER OF RIGHTS IN THE PROPERTY

' This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and
modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under this Security
Instrument and the Note. For this purpose, Borrower in consideration of this debt does hereby grant and convey to
MERS (solely as nominee for Lender and Lender's successors and assigns) and to the successors and assigns of MERS,
the following described property located in the

County of NEW HAVEN

(Type of Recording Jurisdiction] {Name of Recording Jurisdiction]

SEE COMPLETE LEGAL DESCRIPTION DESCRIBED IN EXHIBIT "A" ATTACHED
HERETO AND MADE A PART OF HEREOF.

Parce] ID Number: 1 11/0003/0009 which currently has the address of
10 REV TAYLOR DRIVE [Street]
ANSONIA {City} , Connecticut 06401 [Zip Cade]

("Property Address"):

TO HAVE AND TO HOLD this property unto MERS (solely as nominee for Lender and Lender's successors and
assigns) and to the successors and assigns of MERS, forever, together with all the improvements now or hereafter
erected on the property, and all easements, appurtenances, and fixtures now or hereafter a part of the property. All
replacements and additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this
Security Instrument as the "Property." Borrower understands and agrees that MERS holds only legal title to the
interests granted by Borrower in this Security Instrument, but, if necessary to comply with law or custom, MERS (as
nominee for Lender and Lender's successors and assigns) has the right: to exercise any or all of those interests,
including, but not limited to, the right to foreclose and sell the Property; and to take any action required of Lender
including, but not limited to, releasing and canceling this Security Instrument.

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right to
mortgage, grant and convey the Property and that the Property is unencumbered, except for encumbrances of record.
Borrower warrants and will defend generally the title to the Property against all claims and demands, subject to any
encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with
limited variations by jurisdiction to constitute a uniform security instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1, Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower shall pay
when due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and late charges
due under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due under the Note
and this Security Instrument shall be made in U.S. currency. However, if any check or other instrument received by
Lender as payment under the Note or this Security Instrument is returned to Lender unpaid, Lender may require that any
or all subsequent payments due under the Note and this Security Instrument be made in one or more of the following
forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's
check, provided any such check is drawn upon an institution whose deposits are insured by a federal agency,
instrumentality, or entity; or (d) Electronic Funds Transfer.

 
   
 

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SCHEDULE A

ALL THAT certain piece or parcel of land, with the buildings and improvements thereon,
situated in the Town of Ansonia, County of New Haven and State of Connecticut, designated
as Lot No, 9 as Shown on certain maps entitled "Records Subdivision Map, Northfield. Farms,
Ansonia, Connecticut, dated October 1, 1991, Last revised 5/20/92, recorded in Ansonia’ Map
Volume 13, Pages 7, 8, 9 & 10.

The premises are hereby conveyed together with and subject to the terms, conditions,
agreements, obligations and easements contained in the Restated Declaration of Northfield
Farms dated February 3, 1993 and recorded February 3, 1993 in the Ansonia Land Records in
Valume 264 at Page 127 and in the Woodbridge Land Records in Volume 185 at Page, 300 as
it may be amended or supplemented. .
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Payments are deemed received by Lender when received at the location designated in the Note or at such other
_ location as may be designated by Lender in accordance with the notice provisions in Section 15, Lender may return any
payment or partial payment if the payment or partial payments are insufficient to bring the Loan current. Lender may
accept any payment or partial payment insufficient to bring the Loan current, without waiver of any rights hereunder or
prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not obligated to apply such
payments at the time such payments are accepted. If each Periodic Payment is applied as of its scheduled due date, then
Lender need not pay interest on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment
to bring the Loan current. If Borrower does not do so within a reasonable period of time, Lender shall either apply such
funds or return them to Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance
under the Note immediately prior to foreclosure. No offset or claim which Borrower might have now or in the future
against Lender shall relieve Borrower from making payments due under the Note and this Security Instrument or
performing the covenants and agreements secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments accepted
and applied by Lender shall be applied in the following order of priority: {a) interest due under the Note; (b) principal
due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic Payment in the
order in which it became due. Any remaining amounts shall be applied first to late charges, second to any other amounts
due under this Security Instrument, and then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient amount
to pay any late charge due, the payment may be applied to the delinquent payment and the late charge. If more than one
Periodic Payment is outstanding, Lender may apply any payment received from Borrower to the repayment of the
Periodic Payments if, and to the extent that, each payment can be paid in full. To the extent that any excess exists after
the payment is applied to the full payment of one or more Periodic Payments, such excess may be applied to any late
charges due. Voluntary prepayments shall be applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note shall
not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the Note,
until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and assessments
and other items which can attain priority over this Security Instrument as a lien or encumbrance on the Property; (b)
leasehold payments or ground rents on the Property, if any; (c) premiums for any and all insurance required by Lender
under Section 5; and (d) Mortgage Insurance premiums, if any, or any sums payable by Borrower to Lender in lieu of
the payment of Mortgage Insurance premiums in accordance with the provisions of Section 10. These items are called
"Escrow Items." At origination or at any time during the term of the Loan, Lender may require that Community
Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall
be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section.
Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to pay the Funds
for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender Funds for any or all Escrow
Items at any time. Any such waiver may only be in writing. In the event of such waiver, Borrower shall pay directly,
when and where payable, the amounts due for any Escrow Items for which payment of Funds has been waived by
Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment within such time period as
Lender may require. Borrower's obligation to make such payments and to provide receipts shall for all purposes be
deemed to be a covenant and agreement contained in this Security Instrument, as the phrase “covenant and agreement"
is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant fo a waiver, and Borrower fails to
pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9 and pay such amount and
Borrower shall then be obligated under Section 9 to repay to Lender any such amount. Lender may revoke the waiver as
to any or all Escrow Items at any time by a notice given in accordance with Section 15 and, upon such revocation,
Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this Section 3.

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Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds at

_ the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA.

Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures of
future Escrow Items or otherwise in accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
(including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank. Lender
shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall not charge
Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow Items,
unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make such a charge. Unless
an agreement is made in writing or Applicable Law requires interest to be paid on the Funds, Lender shall not be
required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in writing, however,
that interest shall be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the
Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the
excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA,
Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
up the shortage in accordance with RESPA, but in no more than 12 monthly payments. If there is a deficiency of Funds
held in escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay
to Lender the amount necessary to make up the deficiency in accordance with RESPA, but in no more than 12 monthly
payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to Borrower any
Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to the
Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the Property, if
any, and Community Association Dues, Fees, and Assessments, if any. To the extent that these items are Escrow Items,
Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: (a)
agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only so long
as Borrower is performing such agreement; (b) contests the lien in good faith by, or defends against enforcement of the
lien in, legal proceedings which in Lender's opinion operate to prevent the enforcement of the lien while those
proceedings are pending, but only until such proceedings are concluded; or (c) secures from the holder of the lien an
agreement satisfactory to Lender subordinating the lien to this Security Instrument. If Lender determines that any part
of the Property is subject to a lien which can attain priority over this Security Instrument, Lender may give Borrower a
notice identifying the lien. Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or
take one or more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service used
by Lender in connection with this Loan.

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5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the Property
insured against loss by fire, hazards included within the term “extended coverage," and any other hazards including, but
not limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be maintained in the
amounts (including deductible levels) and for the periods that Lender requires. What Lender requires pursuant to the
preceding sentences can change during the term of the Loan. The insurance carrier providing the insurance shall be
chosen by Borrower subject to Lender's right to disapprove Borrower's choice, which right shall not be exercised
unreasonably, Lender may require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood
zone determination, certification and tracking services; or (b) a one-time charge for flood zone determination and
certification services and subsequent charges each time remappings or similar changes occur which reasonably might
affect such determination or certification. Borrower shall also be responsible for the payment of any fees imposed by
the Federal Emergency Management Agency in connection with the review of any flood zone determination resulting
from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at
Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount of
coverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's equity in
the Property, or the contents of the Property, against any risk, hazard or liability and might provide greater or lesser
coverage than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so obtained
might significantly exceed the cost of insurance that Borrower could have obtained, Any amounts disbursed by Lender
under this Section 5 shall become additional debt of Borrower secured by this Security Instrument. These amounts shall
bear interest at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from
Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to
disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an
additional loss payee. Lender shall have the right to hold the policies and renewal certificates. If Lender requires,
Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any
form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such
policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss payee.

Tn the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make proof
of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any insurance
proceeds, whether or not the underlying insurance was required by Lender, shall be applied to restoration or repair of
the Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During such
repair and restoration period, Lender shall have the right to hold such insurance proceeds until Lender has had an
opportunity to inspect such Property to ensure the work has been completed to Lender’s satisfaction, provided that such
inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and restoration in a single
payment or in a series of progress payments as the work is completed. Unless an agreement is made in writing or
Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower
any interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall not
be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If the restoration or repair is not
economically feasible or Lender's security would be lessened, the insurance proceeds shall be applied to the sums
secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such insurance
proceeds shall be applied in the order provided for in Section 2.

  

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If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and related
_ Matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has offered to
settle a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when the notice is given. In
either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower hereby assigns to Lender (a)
Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid under the Note or this
Security Instrument, and (b) any other of Borrower's rights (other than the right to any refund of unearned premiums
paid by Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the
coverage of the Property. Lender may use the insurance proceeds either to repair or restore the Property or to pay
amounts unpaid under the Note or this Security Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence within 60
days after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's principal
residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which consent
shall not be unreasonably withheld, or untess extenuating circumstances exist which are beyond Borrower's control.

7, Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy, damage
or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not Borrower is
residing in the Property, Borrower shall maintain the Property in order to prevent the Property from deteriorating or
decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that repair or restoration is not
economically feasible, Borrower shall promptly repair the Property if damaged to avoid further deterioration or
damage. If insurance or condemnation proceeds are paid in connection with damage to, or the taking of, the Property,
Borrower shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress
payments as the work is completed. If the insurance or condemnation proceeds are not sufficient to repair or restore the
Property, Borrower is not relieved of Borrower's obligation for the completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause,
Lender may inspect the interior of the improvements on the Property. Lender shal! give Borrower notice at the time of
or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process, Borrower or
any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave materially
false, misleading, or inaccurate information or statements to Lender (or failed to provide Lender with material
information) in connection with the Loan. Material representations include, but are not limited to, representations
concerning Borrower's occupancy of the Property as Borrower's principal residence.

9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If (a) Borrower
fails to perform the covenants and agreements contained in this Security Instrument; (b) there is a legal proceeding that
might significantly affect Lender's interest in the Property and/or rights under this Security Instrument (such as a
proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may attain priority
over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the Property, then
Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the Property and ri ghts
under this Security Instrument, including protecting and/or assessing the value of the Property, and securing and/or
repairing the Property. Lender's actions can include, but are not limited to: (a) paying any sums secured by a lien which
has priority over this Security Instrament; (b) appearing in court; and (c) paying reasonable attorneys’ fees to protect its
interest in the Property and/or rights under this Security Instrument, including its secured position in a bankmptcy
proceeding. Securing the Property includes, but is not limited to, entering the Property to make repairs, change locks,
replace or board up doors and windows, drain water from pipes, eliminate building or other code violations or
dangerous conditions, and have utilities turned on or off. Although Lender may take action under this Section 9, Lender
does not have to do so and is not under any duty or obligation to do so. It is agreed that Lender incurs no liability for not
taking any or all actions authorized under this Section 9.

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Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this
Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be
payable, with such interest, upon notice from Lender to Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease. If Borrower
acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the merger in
writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan, Borrower
shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the Mortgage
Insurance coverage required by Lender ceases to be available from the mortgage insurer that previously provided such
insurance and Borrower was required to make separately designated payments toward the premiums for Mortgage
Insurance, Borrower shall pay the premiums required to obtain coverage substantially equivalent to the Mortgage
Insurance previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage Insurance
previously in effect, from an alternate mortgage insurer selected by Lender. If substantially equivalent Mortgage
Insurance coverage is not available, Borrower shall continue to pay to Lender the amount of the separately designated
payments that were due when the insurance coverage ceased to be in effect, Lender will accept, use and retain these
payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be non-refundable,
notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any
interest or earings on such loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance
coverage (in the amount and for the period that Lender requires) provided by an insurer selected by Lender again
becomes available, is obtained, and Lender requires separately designated payments toward the premiums for
Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay the
premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until Lender's
requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and Lender
providing for such termination or until termination is required by Applicable Law. Nothing in this Section 10 affects
Borrower's obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur if
Borrower does not repay the Loan as agreed. Borrower is nota party to the Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
agreements with other parties that share or modify their risk, or reduce losses. These agreements are on ferms and
conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements. These
agreements may require the mortgage insurer to make payments using any source of funds that the mortgage insurer
may have available (which may include funds obtained from Mortgage Insurance premiums).

Asa result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other entity, or
any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or might be
characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or modifying the
mortgage insurer's risk, or reducing losses. If such agreement provides that an affiliate of Lender takes a share of the
insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is often termed "captive
reinsurance." Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
Insurance, or any other terms of the Loan. Such agreements will not increase the amount Borrower will owe for
Mortgage Insurance, and they will not entitle Borrower to any refund.

   

 

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(b) Any such agreements will not affect the rights Borrower has - if any ~ with respect to the Mortgage
Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may include the right to
receive certain disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the Mortgage
Insurance terminated automatically, and/or to receive a refund of any Mortgage Insurance premiums that were
unearned at the time of such cancellation or termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to and
shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property, if
the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and
restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity
to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection
shall be undertaken promptly. Lender may pay for the repairs and restoration in a single disbursement or in a series of
progress payments as the work is completed. Unless an agreement is made in writing or Applicable Law requires
interest to be paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or
earnings on such Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender's security
would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be applied in the
order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be
applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to
Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount of the
sums secured by this Security Instrument immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced by the
amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums secured
immediately before the partial taking, destruction, or loss in value divided by (b) the fair market value of the Property
immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums secured
immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise agree In
writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether or not the
sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as
defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to Lender
within 30 days after the date the notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds
either to restoration or repair of the Property or to the sums secured by this Security Instrument, whether or not then due.
“Opposing Party" means the third party that owes Borrower Miscellaneous Proceeds or the party against whom
Borrower has a right of action in regard to Miscellaneous Proceeds,

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender's
judgment, could result in forfeiture of the Property or other material impairment of Lender's interest in the Property or
rights under this Security Instrument. Borrower can cure such a default and, if acceleration has occurred, reinstate as
provided in Section 19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's judgment,
precludes forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under this
Security Instrument. The proceeds of any award or claim for damages that are attributable to the impairment of Lender's
interest in the Property are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the order
provided for in Section 2.

   
 

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12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or
modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any
Successor in Interest of Borrower shall not operate to release the liability of Borrower or any Successors in Interest of
Borrower. Lender shall not be required to commence proceedings against any Successor in Interest of Borrower or to
refuse to extend time for payment or otherwise modify amortization of the sums secured by this Security Instrument by
reason of any demand made by the original Borrower or any Successors in Interest of Borrower. Any forbearance by
Lender in exercising any right or remedy including, without limitation, Lender's acceptance of payments from third
persons, entities or Successors in Interest of Borrower or in amounts less than the amount then due, shall not bea waiver
of or preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees that
Borrower's obligations and liability shall be joint and several. However, any Borrower who co-signs this Security
Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this Security Instrument only to mortgage,
grant and convey the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not
personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that Lender and any other
Borrower can agree to extend, modify, forbear or make any accommodations with regard to the terms of this Security
Instrument or the Note without the co-signer's consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's obligations
under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's rights and benefits
under this Security Instrument. Borrower shall not be released from Borrower's obligations and liability under this
Security Instrument unless Lender agrees to such release in writing. The covenants and agreements of this Security
Instrument shall bind (except as provided in Section 20) and benefit the successors and assigns of Lender.

14, Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's
default, for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument,
including, but not limited to, attorneys’ fees, property inspection and valuation fees. In regard to any other fees, the
absence of express authority in this Security Instrument to charge a specific fee to Borrower shall not be construed as a
prohibition on the charging of such fee. Lender may not charge fees that are expressly prohibited by this Security
Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the interest
or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits, then: (a) any
such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums
already collected from Borrower which exceeded permitted limits will be refunded to Borrower. Lender may choose to
make this refund by reducing the principal owed under the Note or by making a direct payment to Borrower. Ifa refund
reduces principal, the reduction will be treated as a partial prepayment without any prepayment charge (whether ornota
prepayment charge is provided for under the Note). Borrower's acceptance of any such refund made by direct payment
to Borrower will constitute a waiver of any right of action Borrower might have arising out of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in writing.
Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given to Borrower
when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other means. Notice to
any one Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires otherwise. The
notice address shall be the Property Address unless Borrower has designated a substitute notice address by notice to
Lender. Borrower shall promptly notify Lender of Borrower's change of address. If Lender specifies a procedure for
reporting Borrower's change of address, then Borrower shall only report a change of address through that specified
procedure. There may be only one designated notice address under this Security Instrument at any one time. Any notice
to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address stated herein unless
Lender has designated another address by notice to Borrower. Any notice in connection with this Security Instrument
shall not be deemed to have been given to Lender until actually received by Lender. If any notice required by this
Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy the
corresponding requirement under this Security Instrument.

  

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16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by federal
law and the law of the jurisdiction in which the Property is located. All rights and obligations contained in this Security
Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law might explicitly or
implicitly allow the parties to agree by contract or it might be silent, but such silence shall not be construed as a
prohibition against agreement by contract. In the event that any provision or clause of this Security Instrument or the
Note conflicts with Applicable Law, such conflict shall not affect other provisions of this Security Instrument or the
Note which can be given effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding neuter
words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice versa; and
(c) the word "may" gives sole discretion without any obligation to take any action.

17, Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, "Interest in the
Property" means any legal or beneficial interest in the Property, including, but not limited to, those beneficial interests
transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent of which is
the transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is nota natural
person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent, Lender may
require immediate payment in full of all sums secured by this Security Instrument. However, this option shall not be
exercised by Lender if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a period
of not less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower must pay
all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this period,
Lender may invoke any remedies permitted by this Security Instrument without further notice or demand on Borrower.

19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall have
the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five days
before sale of the Property pursuant to any power of sale contained in this Security Instrument; (b) such other period as
Applicable Law might specify for the termination of Borrower's right to reinstate; or (c) entry of a judgment enforcing
this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums which then would be due under
this Security Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or
agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but not limited to,
reasonable attorneys’ fees, property inspection and valuation fees, and other fees incurred for the purpose of protecting
Lender's interest in the Property and rights under this Security Instrument; and (d) takes such action as Lender may
reasonably require to assure that Lender's interest in the Property and rights under this Security Instrument, and
Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged. Lender may
require that Borrower pay such reinstatement sums and expenses in one or more of the following forms, as selected by
Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check, provided any
such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d)
Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby
shall remain fully effective as ifno acceleration had occurred. However, this right to reinstate shall not apply in the case
of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note
(together with this Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might
result in a change in the entity (known as the “Loan Servicer") that collects Periodic Payments due under the Note and
this Security Instrument and performs other mortgage loan servicing obligations under the Note, this Security
Instrument, and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated toa sale of
the Note. If there is a change of the Loan Servicer, Borrower will be given written notice of the change which will state
the name and address of the new Loan Servicer, the address to which payments should be made and any other
information RESPA requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the
Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations to
Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed by the
Note purchaser unless otherwise provided by the Note purchaser.

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Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual litigant
or the member of a class) that arises from the other party's actions pursuant to this Security Instrument or that alleges
that the other party has breached any provision of, or any duty owed by reason of, this Security Instrument, until such
Borrower or Lender has notified the other party (with such notice given in compliance with the requirements of Section
15) of such alleged breach and afforded the other party hereto a reasonable period after the giving of such notice to take
corrective action. If Applicable Law provides a time period which must elapse before certain action can be taken, that
time period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and opportunity
to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to Borrower pursuant to Section
18 shall be deemed to satisfy the notice and opportunity to take corrective action provisions of this Section 20.

21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those substances defined as
toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances: gasoline,
kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials
containing asbestos or formaldehyde, and radioactive materials; (b) "Environmental Law" means federal laws and laws
of the jurisdiction where the Property is located that relate to health, safety or environmental protection; (c)
“Environmental Cleanup" includes any response action, remedial action, or removal action, as defined in
Environmental Law; and (d) an "Environmental Condition" means:a condition that can cause, contribute to, or
otherwise trigger an Environmental Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances, or
threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else to do,
anything affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an Environmental
Condition, or(c) which, due to the presence, use, or release of a Hazardous Substance, creates a condition that adversely
affects the value of the Property. The preceding two sentences shall not apply to the presence, use, or storage on the
Property of small quantities of Hazardous Substances that are generally recognized to be appropriate to normal
residential uses and to maintenance of the Property (including, but not limited to, hazardous substances in consumer
products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other action
by any governmental or regulatory agency or private party involving the Property and any Hazardous Substance or
Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition, including but not
limited to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any
condition caused by the presence, use or release of a Hazardous Substance which adversely affects the value of the
Property. If Borrower learns, or is notified by any governmental or regulatory authority, or any private party, that any
removal or other remediation of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly
take all necessary remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation
on Lender for an Environmental Cleanup.

 

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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following Borrower's
breach of any covenant or agreement in this Security Instrument (but not prior to acceleration under Section 18
unless Applicable Law provides otherwise). The notice shall Specify: (a) the default; (b) the action required to
cure the default; (c) a date, not less than 30 days from the date the notice is given to Borrower, by which the
default must be cured; and (d) that failure to cure the default on or before the date specified in the notice may
result in acceleration of the sums secured by this Security Instrument and foreclosure or sale of the Property.
The notice shall further inform Borrower of the right to reinstate after acceleration and the right to assert in
court the non-existence of a default or any other defense of Borrower to acceleration and foreclosure or sale. If
the default is not cured on or before the date specified in the notice, Lender at its option may require immediate
payment in full of all sums secured by this Security Instrument without further demand and may invoke any of
the remedies permitted by Applicable Law. Lender shall be entitled to collect all expenses incurred in pursuing
the remedies provided in this Section 22, including, but not limited to, reasonable attorneys’ fees and costs of title
evidence.

23. Release. Upon payment and discharge of all sums secured by this Security Instrument, this Security Instrument
shall become null and void and Lender shall release this Security Instrument. Borrower shall pay any recordation costs.
Lender may charge Borrower a fee for releasing this Security Instrument, but only if the fee is paid to a third party for
services rendered and the charging of the fee is permitted under Applicable Law.

24. Waivers. Borrower waives all rights of homestead exemption in, and statutory redemption of, the Property and
allright of appraisement of the Property and relinquishes all rights of curtesy and dower in the Property.

25. Future Advances. Lender is specifically permitted, at its option and in its discretion, to make additional loans
and future advances under this Security Instrument as contemplated by Section 49-2(c) of the Connecticut General
Statutes, and shall have all rights, powers and protections allowed thereunder.

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BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security

Instrument and in any Rider executed by Borrower and recorded with it.
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Signed, sealed‘and delivered in thePresence of:

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STATE OF CONNECTICUT, NEW HAVEN Countyss: Milford
The foregoing instrument was acknowledged before me this June 30, 2006
by MAnfred Vives and Leticia Vives
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AMMEARAKK Joseph J. Mager Jr."

Commissioner of theCSuperior Court
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ADJUSTABLE RATE RIDER

(LIBOR Index - Rate Caps)

Loan Number,

THIS ADJUSTABLE RATE RIDER is made this 30th day of June, 2006 ,and is
incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or Deed to Secure
Debt (the “Security Instrument") of the same date given by the undersigned (the “Borrower") to secure
Borrower's Note to

Wilmington Finance, Inc.

(the "Lender") of the same date and covering the property described in the Security Instrument and located at:

10 REV TAYLOR DRIVE
ANSONIA, CT 06401

[Property Address]

THE NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN THE INTEREST
RATE AND THE MONTHLY PAYMENT. THE NOTE LIMITS THE AMOUNT THE
BORROWER'S INTEREST RATE CAN CHANGE AT ANY ONE TIME AND THE
MAXIMUM RATE THE BORROWER MUST PAY.

ADDITIONAL COVENANTS, In addition to the covenants and agreements made in the Security
Instrument, Borrower and Lender further covenant and agree as follows:

A. INTEREST RATE AND MONTHLY PAYMENT CHANGES
The Note provides for an initial interest rate of 7.990 %. The Note provides for
changes in the interest rate and the monthly payments, as follows:

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES

(A) Change Dates
The interest rate I will pay may change on the first day of July, 2009 ,and
on that day every sixth month thereafter. Each date on which my interest rate could change is called a "Change
Date."

WILMINGTON FINANCE, INC. - MODIFIED ~
MULTISTATE ADJUSTABLE RATE RIDER an Single Family - Freddie Mac UNIFORM INSTRUMENT

   

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VMP MORTGAGE FORMS - (800)521-7291

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(B) The Index

Beginning with the first Change Date, my interest rate will be based on an Index. The "Index" is the average
of interbank offered rates for six-month U.S. dollar-denominated deposits in the London market ("LIBOR"), as
published in The Wall Street Journal. The most recent Index figure available as of the first business day of the
month immediately preceding the month in which the Change Date occurs is called the "Current Index."

If the Index is no longer available, the Note Holder will choose a new index that is based upon comparable
information, The Note Holder will give me notice of this choice.

(C) Calculation of Changes

Before each Change Date, the Note Holder will calculate my new interest rate by adding
Five and 990/1000 percentage points ( 5.990 %) to the Current Index.
The Note Holder will then round the result of this addition to the nearest one-eighth of one percentage point
(0.125%). Subject to the limits stated in Section 4(D) below, this rounded amount will be my new interest rate
until the next Change Date.

The Note Holder will then determine the amount of the monthly payment that would be sufficient to repay the
unpaid principal that I am expected to owe at the Change Date in full on the maturity date at my new interest rate
in substantially equal payments. The result of this calculation will be the new amount of my monthly payment.

(D) Limits on Interest Rate Changes

The interest rate | am required to pay at the first Change Date will not be greater than 9.990 %or less
than 7.990 %, Thereafter, my interest rate will never be increased or decreased on any single Change
Date by more than one percentage point (1%) from the rate of interest I have been paying for the preceding six
months. My interest rate will never be greater than 13.990%, or less than 7.990 %,

(E) Effective Date of Changes

My new interest rate will become effective on each Change Date. I will pay the amount of my new monthly
payment beginning on the first monthly payment date after the Change Date until the amount of my monthly
payment changes again.

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(F) Notice of Changes

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The Note Holder will deliver or mail to me a notice of any changes in my interest rate and the amount of my
monthly payment before the effective date of any change. The notice will include information required by law to
be given to me and aiso the title and telephone number of a person who will answer any question I may have

regarding the notice.

B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER

Uniform Covenant 18 of the Security Instrument is amended to read as follows:

Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
"Interest in the Property" means any legal or beneficial interest in the Property, including, but not
limited to, those beneficial interests transferred in a bond for deed, contract for deed, installment
sales contract or escrow agreement, the intent of which is the transfer of title by Borrower at a future
date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if a
Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred) without
Lender's prior written consent, Lender may require immediate payment in full of all sums secured by
this Security Instrument. However, this option shall not be exercised by Lender if such exercise is
prohibited by Applicable Law. Lender also shall not exercise this option if: (a) Borrower causes to be
submitted to Lender information required by Lender to evaluate the intended transferee as if a new
loan were being made to the transferee; and (b) Lender reasonably determines that Lender's security
will not be impaired by the loan assumption and that the risk of a breach of any covenant or
agreement in this Security Instrument is acceptable to Lender,

To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a condition to
Lender's consent to the loan assumption. Lender may also require the transferee to sign an
assumption agreement that is acceptable to Lender and that obligates the transferee to keep all the
promises and agreements made in the Note and in this Security Instrument. Borrower will continue fo
be obligated under the Note and this Security Instrument unless Lender releases Borrower in writing.

If Lender exercises the option to require immediate payment in full, Lender shall give Borrower
notice of acceleration. The notice shall provide a period of not less than 30 days from the date the
notice is given in accordance with Section 15 within which Borrower must pay all sums secured by
this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this period,
Lender may invoke any remedies permitted by this Security Instrument without further notice or
demand on Borrower.

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BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
Adjustable Rate Rider.

 

 

 

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ASSIGNMENT OF MORTGAGE «477. 1014

Know all men by these presents, that Mortgage Electronic Registration
Systems, Inc., with a mailing address of 1818 Library Street, Suite 300, Reston, VA
20190 does hereby grant, bargain, sell, assign, transfer, and set over to Deutsche
Bank National Trust Company as Trustee for Morgan Stanley IXIS Real Estate Capital
Trust 2006-2 with a mailing address of c/o Countrywide Home Loans, Inc, 7105
Corporate Drive, Plano, TX 75024 and its successors and assigns, all interest under
that certain mortgage to Mortgage Electronic Registration Systems, Inc. from Leticia
Vives and Manfred Vives, dated June 30, 2006 and recorded July 5, 2006 in Volume
444 at Page 1055 of the Ansonia Land Records, together with the mortgage note
secured thereby.

in Witness Whereof, the Assignor has duly executed this instrument this
October 6, 2008.

Signed, Sealed and Delivered
inthe Presence of:

OMacke Mortgage Electronic Regi on SysteTys, Inc.
witness! CY WO O-MOrd
LLLZLZA”_*S

Adam L. Bendett

 

 

Witness F Grik Kamelos Its Vice President
STATE OF CONNECTICUT :

Farmington
COUNTY OF HARTFORD

On this October 6, 2008, personally appeared Adam L. Bendett, who is known
to me to be the person who executed the foregoing instrument as the Vice President,
of the Corporation that executed the foregoing instrument, and acknowledged the

“same to be the free act and deed of said Corporation, before me.

Feuk Kaweles
Notary Public 3 tcp.eey che TE

My Commission n Expires: a

 

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Recording Requested By:

NATIONSTAR MORTGAGE DBA MR. COOPER

When Recorded Return Ta:

Please forward to:
Milford Law, LLC
250 Broad Street
Milford, CT 06460
File No.0 ee

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URAC

CORPORATE ASSIGNMENT OF MORTGAGE

Ansonia City, Connecticut
SELLER'S SERVICING

Date of Assignment: August 13th, 2018

Assignor. DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FOR MORGAN STANLEY IXIS REAL
ESTATE CAPITAL TRUST 2006-2, BY NATIONSTAR MORTGAGE LLC AS [T'S ATTORNEY-IN-FACT at 8950
CYPRESS WATERS BLVD, COPPELL, TX 75019

Assignee: DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR MORGAN STANLEY IIS REAL
ESTATE CAPITAL TRUST 2006-2 MORTGAGE PASS THROUGH CERTIFICATES, SERIES 2006-2 at 1761 E. ST.
ANDREW PLAGE, SANTA ANA, CA 92705-4934

Executed By: MANFRED VIVES AMD LETICIA VIVES To: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,
INC., AS NOMINEE FOR WILMINGTON FINANCE, INC.

Date of Mortgage: 06/30/2006 Recorded: 07/05/2006 in Book/Reel/Liber: 444 Page/Folio: 1055 In Ansonia City,
State of Connecticut.

KNOW ALL MEN BY THESE PRESENTS, that for good and valuable consideration, the receipt and sufficiency of
which is hereby acknowledged, the said Assignor hereby assigns unto the above-named Assignee, the said
Mortgage having an original principal sum of $305,150.00 with interest, secured thereby, and the full benefit of all the
powers and of all the covenants and provisos therein contained, and the said Assignor hereby grants and conveys
unto the said Assignee, the Assignor's interest under the Mortgage.

TO HAVE AND TO HOLD the said Mortgage, and the said property unto the said Assignee forever, subject to the
terms contained in said Mortgage.

DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FOR MORGAN STANLEY IXiS REAL ESTATE
CAPITAL TRUST 2006-2, BY NATIONSTAR MORTGAGE LLC AS IT'S ATTORNEY-IN-FACT

 

By:

 

MOHAMED HAMEED, Vice-President

i

WITNESS

  

  

 

 

 

 

wa Dantaty Horvath

STATE OF Texas
COUNTY OF Datias

On August 13th, 2018, before me, COLLEEN BARNETT, a Notary Public in and for Dallas in the State of Texas,
personally appeared MOHAMED HAMEED, Vice-President, personally known to me to be the person(s) whose
name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
his/her/their authorized capacity, and that by his/her/their signature on the instrument the person(s), or the entity
upon behalf of which the person(s) acted, executed the instrument.

WITNESS my hand and official seal,

  

Notary Expires: 11/30/2019 #130453613 -
(This area for notarial seal)

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in 08/17/2018 At 10:09:29 am

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Case Detail

 

Pending Foreclosure Sales 1

 

   

Attorney/Firm: MILFORD LAW LLC D/B/A KAPUSTA OTZEL & AV (003287

Information updated as of: 06/26/2019

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E-Mail: staff@milfordlegal.com

 

DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FO v. VIVES, MANFRED Et Al
Case Type: P00

File Date: 08/28/2018 Return Date: 09/04/2018

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To receive an email when there is activity on this case, click here.

 

 

 

Select Case Activity:

Case Information

 

 

Case Type:
Court Location:
Property Address:

POO - Property - Foreclosure

Milford JD

10 REV TAYLOR DRIVE, ANSONIA, CT 06401
No List Type

- List Type:
STL Trial List Claim:

Last Action Date: 06/04/2019 (The "last action date” is the date the information was entered in the system)

 

Disposition Information

 

 

Disposition Date:
Disposition:
Judge or Magistrate:

 

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_Party & Appearance Information

 

 

 

No
Party
- Party Party Type
Party Category
P-01 DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FOR MORGAN STANLEY AS Plaintiff Firm or
TRUSTEE FOR MORGAN STANLEY IXIS REAL ESTATE CAPITAL TRUST 2006-2 Corporation
Attorney; «& MILFORD LAW LLC D/B/A KAPUSTA OTZEL & AV (003287) File Date: 08/28/2018
250 BROAD STREET
MILFORD, CT 06460
. D-01. MANFRED VIVES Defendant Person
Self-Rep: 10 REV RAYLOR DRIVE File Date: 08/31/2018
ANSONA, CT 06401
D-02 LETICIA VIVES Defendant Person
Self-Rep: 10 REV TAYLOR DRIVE File Date: 08/31/2018
ANSONIA, CT 06401
D-03° HSBC BANK NEVADA, NATIONAL ASSOCIATION Defendant — Firm or
Non-Appearing Corporation
D-04 MIDLAND FUNDING, LLC Defendant — Firm or

Non-Appearing Corporation

Viewing Documents on Civil, Housing and Smail Claims Cases:
if there is an in front of the docket number at the top of this page, then the file is electronic (paperless).

* Documents, court orders and judicial notices in electronic (paperless) civil, housing and small claims cases with a return date on or after
January 1, 2014 are available publicly over the internet.* For more information on what you can view in all cases, view the Electronic

Access to Court Documents Quick Card.

« For civil cases filed prior to 2014, court orders and judicial notices that are electronic are available publicly over the internet. Orders can
be viewed by selecting the link to the order from the list below. Notices can be viewed by clicking the Notices tab above and selecting
the link.*

« Documents, court orders and judicial notices in an electronic (paperless) file can be viewed at any judicial district courthouse during
normal business hours.*

* Pleadings or other documents that are not electronic (paperless) can be viewed only during normal business hours at the Clerk's Office
in the Judicial District where the case is located.*

+ An Affidavit of Debt is not available publicly over the internet on smail claims cases filed before October 16, 20172

*Any documents protected by law Or by court order that are Not open to the public cannot be viewed by the public online And can only be
viewed in person at the clerk's office where the file is located by those authorized by law or court order to see them.

 

Motions / Pleadings / Documents / Case Status

 

 

 

 

 

 

Entry, File Date Filed Description Arguable
No By.
https://efile.eservices jud.ct.gov/CaseDetail/AttyCaseDetail.aspx?CRN=4099653 cxhi bb , 4 \ 1/3
ee" Case 19-30893 Doc 10. Filed 07/03/T8° BAU HOGNSts:55:28 Page 53 of 65

 

 

 

 

 

 

 

 

 

08/28/2018 P SUMMONS
08/28/2018 P COMPLAINT &
98/31/2018 APPEARANCE [
Watermark
08/31/2018 APPEARANCE [#
08/31/2018 APPEARANCE [
100.30 08/28/2018 P RETURN OF SERVICE No
101.00 08/28/2018 P LIS PENDENS & No
102.00 08/28/2018 P SUPPLEMENTAL RETURN | No
HSBC BANK NEVADA, N.A.
103.00 08/31/2018 D FORECLOSURE MEDIATION REQUEST/CERTIFICATE JD-CV-108 & No
RESULT: Order 9/12/2018 BY THE CLERK
103.10 09/12/2018 C ORDER & No

Case assigned to FMP
RESULT: Order 9/12/2018 BY THE CLERK

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

104.00 08/31/2018 D FORECLOSURE MEDIATION REQUEST/CERTIFICATE JD-CV-108 & No
RESULT: Order 9/12/2018 BY THE CLERK

104.10 09/12/2018 C ORDER & No
RESULT: Order 9/12/2018 BY THE CLERK

105.00 09/13/2018 P FORECLOSURE MEDIATION PLAINTIFF'S COMPLIANCE WITH SERVICE (NO DOCUMENT) No

406.00 09/13/2018 C FORECLOSURE MEDIATION — ELIGIBLE CASE (NO DOCUMENT) No

107.00 09/13/2018 C FORECLOSURE MEDIATION-COMPLIANCE WITH P.A.09-209 (NO DOCUMENT) SEE FORM# No

JD-CV-109

108.00 10/30/2018 C FORECLOSURE MEDIATOR’S PREMEDIATION REPORT No

109.00 12/07/2018 D MOTION FOR CONTINUANCE | No
RESULT: Granted 12/13/2018 HON JOHN MORAN

109.01 12/13/2018 C ORDER & No
RESULT: Granted 12/13/2018 HON JOHN MORAN

110.00 01/22/2019 D MOTION FOR CONTINUANCE L¥ No
RESULT: Granted 1/23/2019 HON JOHN MORAN

110.01 01/23/2019 C ORDER & No
RESULT: Granted 1/23/2019 HON JOHN MORAN

111.00 02/19/2019 D MOTION FOR CONTINUANCE [= No
RESULT: Granted 2/21/2019 HON JOHN MORAN

111.01 02/21/2019 C ORDER & No
RESULT: Granted 2/21/2019 HON JOHN MORAN

112,00 04/02/2019 P FORECLOSURE MEDIATION - MOTION FOR MODIFICATION OF MEDIATION PERIODJD-CV- No

96 &

RESULT: Granted 4/2/2019 HON JOHN MORAN

112.01 04/02/2019 C ORDER & No
RESULT: Granted 4/2/2019 HON JOHN MORAN

113.00 04/02/2019 P MOTION FOR CONTINUANCE & No
RESULT: Granted 4/2/2019 HON JOHN MORAN

113.01 04/02/2019 C ORDER |? No
RESULT: Granted 4/2/2019 HON JOHN MORAN

114.00 05/29/2019 C FORECLOSURE MEDIATION TIME PERIOD EXPIRED No

145.00 06/04/2019 P NOTICE OF BANKRUPTCY & No

 

 

 

Scheduled Court Dates as of 06/25/2019
AAN-CV18-6029772-S - DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FO v. VIVES, MANFRED Et Al!

 

 

 

# Date Time Event Description Status

No Events Scheduled

 

 

 

 

Judicial ADR events may be heard in a court that is different from the court where the case is filed. To check location information
about an ADR event, select the Notices tab on the top of the case detail page.

Matters that appear on the Short Calendar and Family Support Magistrate Calendar are shown as scheduled court events on this
page. The date displayed on this page is the date of the calendar.

All matters on a family support magistrate calendar are presumed ready to go forward.

The status of a Short Calendar matter is not displayed because it is determined by markings made by the parties as required by
the calendar notices and the civilé or familys? standing orders. Markings made electronically can be viewed by those who have

https://efile.eservices.jud.ct.gov/CaseDetail/AttyCaseDetail.aspx? CRN=4099653 2/3
wee’ Case 19-30893, Doc 10. Filed 07/03/18° ETN UAOSS'ts:55:28 Page 54 of 65

electronic access through the Markings History link on the Civil/Family Menu in E-Services. Markings made by telephone can
only be obtained through the clerk's office. If more than one motion is on a single short calendar, the calendar will be listed once
on this page. You can see more information on matters appearing on Short Calendars and Family Support Magistrate Calendars
by going to the Civil/Family Case Look-Upi page and Short Calendars By Juris Numben® or By Court Location.

Periodic changes to terminology that do not affect the status of the case may be made.
This list does not constitute or replace official notice of scheduled court events.

Disclaimer: For civil and family cases statewide, case information can be seen on this website fora period of time, from one year
to a maximum period of ten years, after the disposition date. if the Connecticut Practice Book Sections 7-10 and 7-11 give a
shorter period of time, the case information will be displayed for the shorter period. Under the Federal Violence Against Women
Act of 2005, cases for relief from physical abuse, foreign protective orders, and motions that would be likely to publicly reveai the
identity or location of a protected party may not be displayed and may be available only at the courts.

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https://efile.eservices jud.ct.gov/CaseDetail/AttyCaseDetail.aspx? CRN=4099653 3/3
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ase 19-30893 Doc1 Filed 05/31/19 Entered 05/31/19 16:52:28 Page 10 of 52

Fill in this information to identify your case and this filing:

 

 

Debtor 1 Manfred Vives _

: First Name ~~ Middie Name Last Name
Debtor 2 Leticia Vives _ eee

| (Spouse, if filing) First Name Middie Name "Last Name

United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT

| Case number C) Check if this is an
: amended filing

Official Form 106A/B
Schedule A/B: Property 42/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Ea Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest in

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

CJ No. Go to Part 2,
Mi ves. Where is the property?

1.4 What is the property? Check ait that apply
10 Reverend Taylor Drive _ ME Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description Duplex or multi-unit buildin the amount of any secured claims on Schedule D:
Oo upie’ mun! 9 Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
(J Manufactured or mobile home
. Current value of the Current value of the
Ansonia CT 06401-0000 OO Land entire property? portion you own?
City State ZIP Code C1 Investment property __. $275,000.00 $275,000.00
Timesh
1 Timeshare Describe the nature of your ownership interest
O Other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
C debtor 1 only 100% owners
New Haven - CO pebtor 2 only
County MI Debtor 1 and Debtor 2 ont
eptor T and Vento ny Check if this is community property
QO At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for 275.00
pages you have attached for Part 1. Write that number here => __ $275, a 10.00

| Part 2: | Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicies you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

Official Form 106A/B Schedule A/B: Property page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT
AT NEW HAVEN

In Re: Manfred Vives a/k/a Manfred E. Vives a/k/a
Manfred Eduardo Vives, Debtor

 

Case No. 19-30893
Deutsche Bank National Trust Company,
as Trustee for MORGAN STANLEY IXIS
REAL ESTATE CAPITAL TRUST 2006-2
MORTGAGE PASS THROUGH
CERTIFICATES, SERIES 2006-2
Movant

VS.

Manfred Vives a/k/a

Manfred E. Vives a/k/a

Manfred Eduardo Vives
Respondent

Barbara H. Katz,
Trustee

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) Chapter 7
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)
OFFICE OF THE U.S. TRUSTEE )
)

 

AFFIDAVIT OF DEBT

 

STATE OF TEXAS

COUNTY OF DENTON

I _Nituy Ae Mcio- __, being duly sworn according to law, depose and say:
: (

PURSUANT TO FEDERAL LAW, THIS LAW FIRM IS A DEBT COLLECTOR. PLEASE BE ADVISED THAT THIS IS AN
ATTEMPT TO COLLECT A DEBT AND THAT ANY INFORMATION OBTAINED WILL BE USED FOR THAT
PURPOSE. HOWEVER, IF YOU ARE IN BANKRUPTCY OR RECEIVED A BANKRUPTCY DISCHARGE, THIS
COMMUNICATION IS NOT AN ATTEMPT TO COLLECT THE DEBT AGAINST YOU PERSONALLY, BUT IS NOTICE
OF A POSSIBLE ENFORCEMENT OF THE LEN AGAINST THE COLLATERAL PROPERTY.

2
AFFIDAVIT OF DEBT Page 1 of 4
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1. Tam authorized to sign this affidavit as a(n) Assi san} Ser ha te Nationstar
Mortgage LLC d/b/a Mr. Cooper (Nationstar), servicer for Movant, Deutsche Bank National
Trust Company, as Trustee for MORGAN STANLEY IXIS REAL ESTATE CAPITAL TRUST
2006-2 MORTGAGE PASS THROUGH CERTIFICATES, SERIES 2006-2.

2. Nationstar maintains records for the loan that is secured by the mortgage being
foreclosed in this action. As part of my job responsibilities for Nationstar, I am familiar with the
type of records maintained by Nationstar in connection with the loan.

3. I have personal knowledge of the facts in this affidavit based upon a review of
Nationstar's business records, and the information in this affidavit is taken from Nationstar's
business records. I have personal knowledge of Nationstar’s procedures for creating the records
maintained by Nationstar in connection with the loan. They are: (a) made at or near the time of
the occurrence of the matters recorded by persons with personal knowledge of the information in
the business record, or from information transmitted by persons with personal knowledge; (b)
made and kept in the usual and ordinary course of Nationstar's regularly conducted business
activities; and (c) created by Nationstar as regular practice.

4. Movant has possession of the promissory note and held the note at the time of
filing the Voluntary Petition for Bankruptcy. The promissory note is endorsed in blank by
Wilmington Finance, Inc.

5. I have reviewed the portion of Nationstar's business records that reflect the
amounts due on the loan. They show Manfred Vives defaulted, and the
business records show amounts due on the loan through June 5, 2019 are due and unpaid. The
amounts total $504,917.00 and consist of the following:

PURSUANT TO FEDERAL LAW, THIS LAW FIRM IS A DEBT COLLECTOR. PLEASE BE ADVISED THAT THIS IS AN
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Unpaid Principal Balance: $328,686.60
Interest Total $17,685.74
Per Diem at $30.39
Interest Rate: 3.375%
Pre-acceleration Late Charges $
Property Tax Advances $
Hazard Insurance Advances $
MIP/PMI $
Total Property Inspection Fees $
Total Fees and Costs $148,591.13
Other:

Payment Advance - Principal/Interest/Escrow $9,953.53
Less Suspense ($ )
Total: $504,917.00

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6. Debtor is contractually past due for December 1, 2017.

7. It is requested that this court take judicial notice that there are no setoffs or

counterclaims applicable to this loan.

AV\044 Kno —

Printed Narhe: Mary Gracia
Title: Assistant Secretary of Nationstar Mortgage LLC

Date: Olga" Mr. Cooper
Atfiant

Sworn to and subscribed before me on the an a day of \ Une , 20\5 by

Vo LOi iit Late Cy
(NOTARY SEAL) Signature of Notary Pyblic
ann ee — — ———
| ok, “CHASTITY WILSON
= Notary Public, State of Texas
pS = Comm. Expires 05-21-2023
Notary ID 130236636

   
 

   

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AFFIDAVIT OF DEBT Page 4 of 4
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AFTER RECORDING RETURN TO

ATTN: POA

4000 Horizon Way

Irving, TX 75063 LIMITED POWER OF ATTORNEY

KNOW ALL MEN BY THESE PRESENTS, that Deutsche Bank National Trust Company, a
national banking association organized and existing under the laws of the United States, and
having its usual place of business at 1761 East St. Andrew Place, Santa Ana, California, 92705,
as Trustee (the “Trustee”) pursuant to Agreements listed on Exhibit A attached hereto (the
“Agreements”), hereby constitutes and appoints the Servicer, by and through the Servicer’s
officers, the Trustee’s true and lawful Attorney-in-Fact, in the Trustee’s name, place and stead
and for the Trustee’s benefit, in connection with all mortgage loans serviced by the Servicer
pursuant to the Agreement solely for the purpose of performing such acts and executing such
documents in the name of the Trustee necessary and appropriate to effectuate the following
enumerated transactions in respect of any of the mortgages or deeds of trust (the “Mortgages”
and the “Deeds of Trust” respectively) and promissory notes secured thereby (the "Mortgage
Notes”) for which the undersigned is acting as Trustee for various certificateholders (whether the
undersigned is named therein as mortgagee or beneficiary or has become mortgagee by virtue of
endorsement of the Mortgage Note secured by any such Mortgage or Deed of Trust) and for
which Nationstar Mortgage LLC is acting as the Servicer.

This Appointment shall apply only to the following enumerated transactions and nothing herein
or in the Agreement shall be construed to the contrary:

1. The modification or re-recording of a Mortgage or Deed of Trust, where said
modification or re-recording is solely for the purpose of correcting the Mortgage
or Deed of Trust to conform same to the original intent of the parties thereto or to
correct title errors discovered after such title insurance was issued; provided that
(i) said modification or re-recording, in either instance, does not adversely affect
the lien of the Mortgage or Deed of Trust as insured and (ii) otherwise conforms
to the provisions of the Agreement.

2. The subordination of the lien of a Mortgage or Deed of Trust to an easement in
favor of a public utility company of a government agency or unit with powers of
eminent domain; this section shall include, without limitation, the execution of
partial satisfactions/releases, partial reconveyances or the execution or requests to
trustees to accomplish same.

3. The conveyance of the properties to the mortgage insurer, or the closing of the
title to the property to be acquired as real estate owned, or conveyance of title to

real estate owned.

4. The completion of loan assumption agreements.
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5. The full satisfaction/release of a Mortgage or Deed of Trust or full conveyance
upon payment and discharge of all sums secured thereby, including, without
limitation, cancellation of the related Mortgage Note.

6. The assignment of any Mortgage or Deed of Trust and the related Mortgage Note,
in connection with the repurchase of the mortgage loan secured and evidenced
thereby.

7. The full assignment of a Mortgage or Deed of Trust upon payment and discharge
of all sums secured thereby in conjunction with the refinancing thereof, including,
without limitation, the assignment of the related Mortgage Note.

8. The full enforcement of and preservation of the Trustee’ sinterests in the Mortgage
Notes, Mortgages or Deeds of Trust, and in the proceeds thereof, by way of,
including but not limited to, foreclosure, the taking of a deed in lieu of
foreclosure, or the completion of judicial or non-judicial foreclosure or the
termination, cancellation or rescission of any such foreclosure, the initiation,
prosecution and completion of eviction actions or proceedings with respect to, or
the termination, cancellation or rescission of any such eviction actions or
proceedings, and the pursuit of title insurance, hazard insurance and claims in
bankruptcy proceedings, including, without limitation, any and all of the
following acts:

a, the substitution of trustee(s) serving under a Deed of Trust, in accordance
with state law and the Deed of Trust;

b. the preparation and issuance of statements of breach or non-performance;
c. the preparation and filing of notices of default and/or notices of sale;

d. the cancellation/rescission of notices of default and/or notices of sale;

e, the taking of deed in lieu of foreclosure;

f. the filing, prosecution and defense of claims, and to appear on behalf of

the Trustee, in bankruptcy cases affecting Mortgage Notes, Mortgages or
Deeds of Trust;

g. the preparation and service of notices to quit and all other documents
necessary to initiate, prosecute and complete eviction actions or
proceedings;

h. the tendering, filing, prosecution and defense, as applicable, of hazard

insurance and title insurance claims, including but not limited to appearing
on behalf of the Trustee in quiet title actions; and
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i. the preparation and execution of such other documents and performance of
such other actions as may be necessary under the terms of the Mortgage,
Deed of Trust or state law to expeditiously complete said transactions in
paragraphs 8.a. through 8.h. above.

9. With respect to the sale of property acquired through a foreclosure or deed-in lieu
of foreclosure, including, without limitation, the execution of the following
documentation:

a. listing agreements;

b. purchase and sale agreements;

c. grant/warranty/quit claim deeds or any other deed causing the transfer of
title of the property to a party contracted to purchase same;
escrow instructions; and

e. any and all documents necessary to effect the transfer of property.

10. The modification or amendment of escrow agreements established for repairs to
the mortgaged property or reserves for replacement of personal property.

The undersigned gives said Attorney-in-Fact full power and authority to execute such
instruments and to do and perform all and every act and thing necessary and proper to carry into
effect the power or powers granted by or under this Limited Power of Attorney as fully as the
undersigned might or could do, and hereby does ratify and confirm to all that said Attorney-in-
Fact shall be effective as of August 29, 2013.

This appointment is to be construed and interpreted as a limited power of attorney. The
enumeration of specific items, rights, acts or powers herein is not intended to, nor does it give
rise to, and it is not to be construed as a general power of attorney.

Solely to the extent that the Servicer has the power to delegate its rights or obligations under the
Agreement, the Servicer also has the power to delegate the authority given to it by Deutsche
Bank National Trust Company, as Trustee, under this Limited Power of Attorney, for purposes of
performing its obligations and duties by executing such additional powers of attorney in favor of
its attorneys-in-fact as are necessary for such purpose. The Servicer's attorneys-in-fact shall have
no greater authority than that held by the Servicer.

Nothing contained herein shall: (i) limit in any manner any indemnification provided to the
Trustee under the Agreement, (ii) limit in any manner the rights and protections afforded the
Trustee under the Agreement, or (iii) be construed to grant the Servicer the power to initiate or
defend any suit, litigation or proceeding in the name of Deutsche Bank National Trust Company
except as specifically provided for herein. If the Servicer receives any notice of suit, litigation or
proceeding in the name of Deutsche Bank National Trust Company, then the Servicer shall
promptly forward a copy of same to the Trustee.
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This limited power of attorney is not intended to extend the powers granted to the Servicer under
the Agreement or to allow the Servicer to take any action with respect to Mortgages, Deeds of
Trust or Mortgage Notes not authorized by the Agreement.

The Servicer hereby agrees to indemnify and hold the Trustee and its directors, officers,
employees and agents harmless from and against any and all liabilities, obligations, losses,
damages, penalties, actions, judgments, suits, costs, expenses or disbursements of any kind or
nature whatsoever incurred by reason or result of or in connection with the exercise by the
Servicer, or its attorneys-in-fact, of the powers granted to it hereunder. The foregoing indemnity
shall survive the termination of this Limited Power of Attorney and the Agreement or the earlier
resignation or removal of the Trustee under the Agreement.

This Limited Power of Attorney is entered into and shall be governed by the laws of the State of
New York, without regard to conflicts of law principles of such state.

Third parties without actual notice may rely upon the exercise of the power granted under this
Limited Power of Attorney; and may be satisfied that this Limited Power of Attorney shall
continue in full force and effect and has not been revoked unless an instrument of revocation has
been made in writing by the undersigned.

IN WITNESS WHEREOF, Deutsche Bank National Trust Company, as Trustee has caused its
corporate seal to be hereto affixed and these presents to be signed and acknowledged in its name
and behalf by a duly elected and authorized signatory this 29" day of August 29 2013.

Deutsche Bank National Trust Company,
as Trustee

By: l~.

Name: Cindy Lai
Title: Assistant Vice President
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Witness: Jenny Pilapil
™“,

   

 

 

Jason Williams

Prepar: "( \

Name: Vaheh Bashikian
Title: Trust Administrator
Address: Deutsche Bank National Trust Company
1761 E. Saint Andrew Place
Santa Ana, CA 92705

 

State of California}
County of Orange}

On August 29, 2013, before me, Imelda Flores, Notary Public, personally appeared Cindy Lai,
who proved to me on the basis of satisfactory evidence to be the person whose name is
subscribed to the within instrument and acknowledged to me that she executed the same in her
authorized capacity and that by her signature on the instrument the person, or the entity upon
behalf of which the person acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the
foregoing paragraph is true and correct.

IMELDA FLORES *
Commission #1991652
Notary Public - California
“ Orange County
yey My Comm. Expires Sep 20, 204

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EXHIBIT A

e Pooling and Servicing Agreement dated as of June 1, 2006 among Morgan Stanley ABS
Capital I Inc., as Depositor, IXIS Real Estate Capital Inc., a Sponsor, First NLC Financial
Services LLC, Decision One Mortgage Company, LLC, and WMC Mortgage Corp., as
Responsible Parties, Wells Fargo Bank, N.A., as Master Servicer, Securities
Administrator and as a Servicer, JPMorgan Chase Bank, N.A., as a Servicer, and Ocwen
Loan Servicing, LLC as Successor Servicer to both Saxon Mortgage Services, Inc., and
HomeEq Servicing Corporation, as Servicers, and Deutsche Bank National Trust
Company, as Trustee

Mortgage Loan Sale and Servicing Agreement dated as of October 1, 2005 by and
between Countrywide Home Loans, Inc., as Seller, Nationstar Mortgage LLC as Servicer
under the Agreements, successor to Bank of America, N.A., successor by merger to BAC
Home Loans Servicing, L.P., fka Countrywide Home Loans Servicing LP, Inc. as
Servicer and Morgan Stanley Mortgage Capital Inc., as Purchaser

¢ Pooling and Servicing Agreement dated as of November 1, 2006 among Morgan Stanley
ABS Capital I Inc., as Depositor, Saxon Mortgage Services, Inc., as Servicer, Nationstar
Mortgage LLC as Servicer under the Agreements, successor to Bank of America, N.A.,
successor by merger to BAC Home Loans Servicing, L.P., fka Countrywide Home Loans
Servicing LP, as Servicer, First NLC Financial Services, LLC, as Responsible Party, Ixis
Real Estate Capital Inc., as Sponsor and Deutsche Bank National Trust Company, as
Trustee -
